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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                      Chapter 11

LORDSTOWN MOTORS CORP., et al.,1                            Case No. 23-10831 (MFW)

                        Debtors.                            (Jointly Administered)

                                                            Obj. Deadline: March 5, 2024 at 4:00 p.m. (ET)
                                                            Hearing Date: March 14, 2024 at 3:00 p.m. (ET)

SUMMARY OF FIRST INTERIM APPLICATION OF M3 ADVISORY PARTNERS, LP,
   AS FINANCIAL ADVISOR TO THE OFFICIAL COMMITTEE OF EQUITY
    SECURITY HOLDERS, FOR ALLOWANCE OF COMPENSATION AND
        REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
           SEPTEMBER 7, 2023 THROUGH DECEMBER 31, 2023


    Name of Applicant                                  M3 Advisory Partners, LP

    Authorized to provide professional                 Official Committee of Equity Security Holders
    services to:                                       Lordstown Motors Corp., et al.

    Date of retention order:                           October 16, 2023 nunc pro tunc to September 7, 2023

    Period for which compensation and
    reimbursement sought:                              September 7, 2023 through December 31, 2023

    Compensation sought as actual,
    reasonable, and necessary:                         $775,833.50

    Expense reimbursement sought as actual,
    reasonable, and necessary:                         $8,705.24

    This is a(n):              monthly             X       interim              final




1
 The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp.
(3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is
27000 Hills Tech Ct., Farmington Hills, MI 48331.



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      Prior applications:


Monthly Fee       Period Covered   Total Fees      Total           CNO      Amount of Amount of
Application                        Requested     Expenses          Filing      Fees     Expenses
Filing Date                                      Requested        Date & Authorized Authorized
 & Docket                                                        Docket No. to be Paid to be Paid
    No.
 11/10/2023         9/07/2023 –                                   12/1/2023
                                   $318,300.00       $378.66                     $254,640.00   $378.66
  [D.I. 686]         9/30/2023                                    [D.I. 764]
 12/6/2023          10/1/2023 –                                  12/27/2023
                                   $233,752.00       $346.19                     $187,001.60   $346.19
 [D.I. 787]         10/31/2023                                    [D.I. 873]
 2/14/2024         11/01/2023 –
                                   $136,704.50       $7,803.44          -             -           -
 [D.I. 978]         11/30/2023
 2/14/2024         12/01/2023 –
                                   $87,077.00        $176.95            -             -           -
 [D.I. 979]         12/31/2023
TOTALS                             $775,833.50       $8,705.24                   $441,641.6    $724.85




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                        IN THE UNITED STATES BANKRUPTCY COURT
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In re:                                                     Chapter 11

LORDSTOWN MOTORS CORP., et al.,1                           Case No. 23-10831 (MFW)

                        Debtors.                           (Jointly Administered)

                                                           Obj. Deadline: March 5, 2024 at 4:00 p.m. (ET)
                                                           Hearing Date: March 14, 2024 at 3:00 p.m. (ET)

FIRST INTERIM APPLICATION OF M3 ADVISORY PARTNERS, LP, AS FINANCIAL
  ADVISOR TO THE OFFICIAL COMMITTEE OF EQUITY SECURITY HOLDERS,
 FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES
  FOR THE PERIOD FROM SEPTEMBER 7, 2023 THROUGH DECEMBER 31, 2023

         M3 Advisory Partners, LP (“M3 Partners”), Financial Advisor to the Official Committee

of Equity Security Holders (the “Equity Committee”) of Lordstown Motors Corp., the above-

captioned debtors (the “Debtors”), hereby submits its First Interim Application of M3 Advisory

Partners, LP, as Financial Advisor to the Official Committee of Equity Security Holders, for

Allowance of Compensation and Reimbursement of Expenses for the Period from September 7,

2023 through December 31, 2023 (the “Application”) for entry of an order pursuant to section 331

of title 11 of the United States Code, 11 U.S.C. §§101 et seq, as amended (the “Bankruptcy Code”)

for allowance of compensation in the amount of $775,833.50 and reimbursement of expenses in

the amount of $8,705.24 for the period September 7, 2023 through December 31, 2023 (the

“Interim Compensation Period”), in support thereof, M3 Partners respectfully represents as

follows:




1
 The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp.
(3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is
27000 Hills Tech Ct., Farmington Hills, MI 48331.



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                               JURISDICTION AND VENUE

         1.   This Court has jurisdiction over this Application pursuant to 28 U.S.C. §1334. This

is a core proceeding pursuant to 28 U.S.C. §157(b)(2)(A) and (B).

         2.   Venue of this proceeding and this Application is proper in this District pursuant to

28 U.S.C. §§1408 and 1409.

         3.   The statutory predicate for the relief sought herein is section 330 and 331 of the

Bankruptcy Code, Bankruptcy Rule 2016, and Local Rule 2016-2.

                                       BACKGROUND

         4.   On June 27, 2023, (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of the Bankruptcy Code (collectively the “Chapter 11 Cases”). The Chapter

11 Cases are being jointly administered for procedural purposes only pursuant to Bankruptcy Rule

1015(b).

         5.   The Debtors have continued in the possession of its property and have continued to

operate and manage its business as Debtors in possession pursuant to sections 1107(a) and 1108

of the Bankruptcy Code. No trustee or examiner has been appointed in the Chapter 11 Cases.

         6.   On July 13, 2023, the Debtor filed the Debtors’ Motion for Entry of an Order

Establishing Procedures for Interim Compensation and Reimbursement of Expenses for

Chapter 11 Professionals and Committee Members (the “Interim Compensation Motion”) [Docket

No. 111], and on July 25, 2023, the Court entered an Order approving the Interim Compensation

Motion (the “Interim Compensation Order”) [Docket No. 181].

         7.   On September 7, 2023, the United States Trustee for the District of Delaware (the

“United States Trustee”) filed its notice of appointment of the three (3) member Equity Committee




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pursuant to section 1102(a)(1) of the Bankruptcy Code.2 On or about September 7, 2023, the

Equity Committee selected Brown Rudnick LLP (“Brown Rudnick”) as its general bankruptcy

counsel, and soon thereafter Morris James was selected to serve as Delaware counsel to the Equity

Committee.

         8.      On September 27, 2023, the Equity Committee filed the Application for Entry of

an Order Authorizing the Retention and Employment of M3 Advisory Partners, LP as Financial

Advisor to the Official Committee of Equity Security Holders Nunc Pro Tunc to September 7, 2023

(the “Retention Application”) [Docket No. 479]. On October 16, 2023, the Court entered an order

approving the Retention Application, Nunc Pro Tunc to September 7, 2023 [Docket No. 559].

                              SERVICES PROVIDED BY M3 Partners

         9.      Since its retention, M3 Partners, in its capacity as Financial Advisor to the Equity

Committee, undertook, the following:

                     a. assist with the analysis, review and monitoring of the chapter 11 process,
                        including, but not limited to assessment of potential recoveries for equity
                        security holders;
                     b. assist with the review of financial information prepared by the Debtors,
                        including, but not limited to, cash flow projections and budgets, cash
                        receipts and disbursement analysis, asset and liability analysis, and the
                        economic analysis of proposed transactions for which Court approval is
                        sought;
                     c. assist with the assessment and monitoring of the Debtors’ short term cash
                        flow, liquidity, and operating results;
                     d. analyze the Debtors’ proposed chapter 11 plan, and develop alternative
                        scenarios, if necessary;
                     e. assess the Debtors’ various pleadings;
                     f. prepare or review, as applicable, claim analyses;
                     g. assist the Committee in reviewing the Debtors’ financial reports,
                        including, but not limited to, statements of financial affairs, schedules of

2
 The Equity Committee members are the following: (1) Crestline Management, L.P.; (2) Pertento Partners LLP; and
(3) Esopus Creek Value Series Fund LP – Series “A”.

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                     assets and liabilities, budgets, and monthly operating reports;
                  h. advise the Committee on the current state of the Chapter 11 Cases;
                  i. advise the Committee in negotiations with the Debtors and third parties
                     as necessary;
                  j. assist with the prosecution of the Committee’s responses/objections to
                     the Debtors’ motions, including attendance at hearings as required by the
                     Committee.

                               MONTHLY APPLICATIONS

         10.   On November 10, 2023, M3 Partners filed its first monthly application for

compensation and reimbursement of expenses [Docket No. 686] (the “First Monthly

Application”). In the First Monthly Application, M3 Partners sought approval of compensation of

$318,300.00 and reimbursement of expenses in the amount of $378.66 for the period September

7, 2023 through September 30, 2023.

         11.   On December 6, 2023, M3 Partners filed its second monthly application for

compensation and reimbursement of expenses [Docket No. 787] (the “Second Monthly

Application”). In the Second Monthly Application, M3 Partners sought approval of compensation

of $187,001.60 and reimbursement of expenses in the amount of $346.19 for the period October

1, 2023 through October 31, 2023.

         12.   On February 14, 2024 M3 Partners filed its third monthly application for

compensation and reimbursement of expenses [Docket No. 978] (the “Third Monthly

Application”). In the Third Monthly Application, M3 Partners sought approval of compensation

of $136,704.50 and reimbursement of expenses in the amount of $7,803.44 for the period

November 1, 2023 through November 30, 2023.

         13.   On February 14, 2024 M3 Partners filed its fourth monthly application for

compensation and reimbursement of expenses [Docket No. 979] (the “Fourth Monthly

Application”). In the Fourth Monthly Application, M3 Partners sought approval of compensation

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of $87,077.00 and reimbursement of expenses in the amount of $176.95 for the period December

1, 2023 through December 31, 2023.

         14.   The total sum due to M3 Partners for professional services rendered on behalf of

the Equity Committee for the Interim Compensation Period is $775,833.50. A chart detailing the

fees in each of the applications during the Interim Compensation Period, by professional and by

category is attached as Exhibit A. M3 Partners submits that the professional services it rendered

on behalf of the Equity Committee during this time were both reasonable and necessary.

         15.   M3 Partners incurred $8,705.24 of expenses during the Interim Compensation

Period. A chart detailing the specific disbursements is attached hereto as Exhibit B.

         16.   The undersigned hereby attests that he has reviewed the requirements of Local

Rule 2016-1 and this Application conforms to such requirements, including that travel time was

not billed at more than half rate and copying charges were only $0.10 per page.

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         WHEREFORE, M3 Partners hereby requests pursuant to the procedures allowed in the

Interim Compensation Order: (i) approval of allowance and payment on an interim basis, of M3

Partners’ compensation necessary and valuable professional services rendered to the Equity

Committee in the sum of $775,833.50 and reimbursement of expenses in the sum of $8,705.24 for

the period September 7, 2023 through December 31, 2023; (ii) payment of any 20% holdback that

was withheld from payment under the monthly fee application; and (iii) such other and further

relief as is just and proper.

 Dated: February 14, 2024                    M3 ADVISORY PARTNERS, LP

                                             /s/ Robert Winning
                                             Robert Winning
                                             Managing Director, M3 Advisory Partners, LP




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